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                      IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                                 ORDER
                            Plaintiff,
                                                                08-cr-97-bbc
              v.

COREY J. THOMAS,

                            Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       As set out in a number of previous orders entered in this case, defendant Corey

Thomas was convicted of two bank robberies in 2008, sentenced to a term of imprisonment

of 324 months and ordered to make restitution. He has made a number of payments toward

his restitution obligation, but he objects to turning over to the Bureau of Prisons a deposit

of $1,376.91, which he received from the United States Government. The office of the

Acting United States Attorney was informed of the deposit and took the customary step of

notifying the Federal Bureau of Prisons of the deposit. On June 22, 2021, the Acting United

States Attorney moved this court for an order authorizing the Bureau of Prisons to turn over

to the Clerk of Court the $1,376.91 defendant had received from the government, to be

applied toward payment of the criminal monetary penalties defendant still owes. That

motion was granted.

       Defendant continues to object to requiring him to turn over the funds to the Bureau



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of Prisons, but this court has decided that issue against him. Defendant is free to appeal this

court’s decision, but this court will not entertain any additional motions he files that

challenge this court’s determination that he must turn over to the Federal Bureau of Prisons

the $1,376.91 he received from the government.



                                           ORDER

       IT IS ORDERED that defendant Corey J. Thomas’s motion to reverse this court’s

determination that he must turn over to the Federal Bureau of Prisons the $1,376.91 he

received from the United States Government in 2021 is DENIED.

       Entered this 6th day of October, 2021.

                                           BY THE COURT:


                                           /s/
                                           __________________________________
                                           BARBARA B. CRABB
                                           District Judge




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